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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION (COLUMBUS)


                                                  :   Case No. 2:20-cv-03785-ALM-KAJ
  IN RE FIRSTENERGY CORP.
                                                  :   Chief Judge Algenon L. Marbley
  SECURITIES LITIGATION,
                                                  :   Magistrate Judge Kimberly A. Jolson
                                                  :
  This Document Related to:
                                                  :   DEFENDANT TY PINE’S REPLY TO
  ONLY Case No. 2:20-cv-03785-ALM-                :   PLAINTIFFS’ OMNIBUS OPPOSITION
  KAJ                                             :   TO DEFENDANTS’ MOTIONS TO
                                                  :   DISMISS
                                                  :
                                                  :   ORAL ARGUMENT REQUESTED
                                                  :
                                                  :

 I.     INTRODUCTION

        While the filings may be voluminous and the issues complicated overall in this case, the

 Motion to Dismiss of Defendant Ty Pine (Doc. Nos. 166 and 167; “Mr. Pine’s Motion”), who

 was only recently brought into this action by Plaintiffs’ February 26, 2021 Consolidated

 Complaint (Doc. 72; “Complaint”), the only action he has been brought into, is relatively

 straightforward and demonstrates that the claims against Mr. Pine should be dismissed.

        Plaintiffs, by way of improper grouping, and conclusory allegations and inferences,

 attempt to lump Mr. Pine, a lobbyist, into their claims under Count I (false statements and

 scheme liability) and Count II (control person liability) in this action. In response to Mr. Pine’s

 Motion, and without apology, Plaintiffs now admit that they included Mr. Pine in their defined

 grouping of “Officer Defendants” not because he actually was an officer of FirstEnergy but for

 their “ease of reference” and also admit that he was improperly included in Count II—“Plaintiffs

 are not pursuing control person claims against him.” Doc. 176 (Omnibus Opposition to

 Defendants’ Motions to Dismiss (“Opposition”)), fn. 23, PageID 4140. Plaintiffs further admit,
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 despite prevalent overreaching in their group allegations, that they actually only seek a claim

 against Mr. Pine under a portion of Count I, for scheme liability. Doc. 176, PageID 4140.

        As to scheme liability, Plaintiffs argue in their Opposition that they have made

 “overwhelming allegations the he was a ‘central liaison’ between FirstEnergy and corrupt Ohio

 politicians,” but those allegations amount to nothing more than that Mr. Pine, a lobbyist,

 communicated with politicians, and worked with Ohio state legislators to draft and pass HB6

 through the legislative process—again, this is precisely what a registered lobbyist advocating his

 client’s legislative position does. The heightened pleading requirements to bring a claim for

 scheme liability and the protections of the PSLRA exist for a reason—to protect persons such as

 Mr. Pine from being improperly swept into an action in the absence of specific factual

 allegations as to each element of the claim specific to him. Plaintiffs, even seven months after

 their original Complaint and after all of the investigations and media to which they cite, have

 made no such specific factual allegations as to Mr. Pine. For example, he was not an officer, he

 was not a director, he is not alleged to have made any act specific to the alleged scheme, he is not

 alleged to have caused any illicit payment to be made or even to have known of any, and he is

 not alleged to have had any financial or other motivation to advance the alleged scheme.

 Plaintiffs fail to demonstrate how the allegation that Mr. Pine, a lobbyist, had a few phone calls

 with legislators around the time $400,000 out of $60 million in alleged illicit payments were

 made by others during the alleged scheme meets the elements of their claim against Mr. Pine.

 Plaintiffs instead overreach again by conclusively arguing in briefing that Mr. Pine “committed

 these acts to advance the Bailout Scheme” and “his central role in FirstEnergy’s fraudulent

 bailout scheme” without any allegation in the Complaint to back up those arguments. This is

 wholly insufficient to satisfy the applicable heightened pleading standards.



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        Mr. Pine further incorporates by reference the FirstEnergy Defendants’ Reply in Support

 of Their Motion to Dismiss the Consolidated Complaint For Violations of Federal Securities

 Laws (Doc. 193) in support of dismissal of the Complaint in general and the claims against him.

        Accordingly, Plaintiffs’ admission that they are not pursuing control person liability

 against Mr. Pine requires that their Count II claim as against him must be dismissed and

 Plaintiffs’ wholly unsupported Count I claim for scheme liability as against him must be

 dismissed, with the result that Mr. Pine should be dismissed from this action.

 II.    PLEADING STANDARDS

        Plaintiffs’ provision of the pleading standards on which this Court must review Mr.

 Pine’s Motion omits a key qualification: that the Complaint must include more than mere

 conclusory statements and cannot rely on mere labels and defined terms in evaluating

 plausibility. Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) (“the tenet that a court must accept a

 complaint’s allegations as true is inapplicable to threadbare recitations of a cause of action’s

 elements, supported by mere conclusory statements”). Further, when a claim is required to meet

 the heightened pleading requirements of Rule 9(b), such as with a claim for scheme liability

 under 10b-5(a) and (c), “a plaintiff must set forth separately the acts complained of by each

 defendant. A complaint may not simply clump defendants together in vague allegations to meet

 the pleading requirements of Rule 9(b).” In re Aegean Marine Petroleum Network, Inc., No. 18

 Civ. 4993 (NRB), 2021 U.S. Dist. LEXIS 59803, at *66 (S.D.N.Y. March 29, 2021) quoting In

 re Refco Inc. Sec. Litig., 503 F. Supp. 2d 611, 641 (S.D.N.Y. 2007). “The ‘failure to isolate key

 allegations against each defendant supports dismissal under the standards set forth in Twombly

 and Iqbal.’” Id. citing Ochre LLC v. Rockwell Architecture Planning & Design, P.C., No. 12 Civ.




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 2837, 2012 U.S. Dist. LEXIS 172208, 2012 WL 6082387, at *6 (S.D.N.Y. Dec. 3, 2012, aff’d

 530 F. App’x 19 (2d Cir. 2013)).

 III.   LAW AND ARGUMENT

        For the Court’s reference, Plaintiffs’ arguments specific to Mr. Pine in their Opposition

 are located on Opposition pages 32, 44 and 71-72. Doc. 176, PageID 4101, 4113 and 4140-41.

        A.      Plaintiffs admit that they did not plead a claim for control liability against
                Mr. Pine; Mr. Pine should be dismissed from Count II of the Complaint.

        Mr. Pine’s Motion demonstrates that Plaintiffs failed to plead facts to support a claim for

 control liability against him; Plaintiffs improperly included Mr. Pine in the definition of “Officer

 Defendants” and “Exchange Act Defendants” (Doc. 72, PageID 1556 at ¶¶ 34, 39), thereby

 improperly lumping him into Count II of the Complaint (Id. at 1646-47 at ¶ 273). In its

 Opposition, Plaintiffs admit that they improperly defined Mr. Pine for their convenience and that

 they have no claim under Count II for control liability against him:

        Pine was included in the definition of Officer Defendants for ease of reference in the
        Complaint. ¶¶34, 39. However, Pine’s position as a First Energy lobbyist is accurately
        described in ¶¶34 and 223, and Plaintiffs are not pursuing control person claims against
        him.

 Doc. 176, fn. 23, PageID 4140. Accordingly, Mr. Pine’s Motion as applicable to Count II should

 be granted.

        B.      Plaintiffs did not plead specific facts to support a claim for scheme liability
                against Mr. Pine; Mr. Pine should also be dismissed from Count I of the
                Complaint.

        Mr. Pine’s Motion further demonstrates that Plaintiffs failed to meet each of the elements

 of a claim for scheme liability against him. Doc. 167, PageID 2376-81. Though Plaintiffs’

 Opposition admits “the Complaint does not allege that [Pine] made any actionable statements”

 (Doc. 176, fn. 23, PageID 4140), they maintain that the Complaint still supports a claim for relief


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 under “10b-5(a) and (c) scheme liability” (Id. at PageID 4113 and 4140-41). But Plaintiffs’

 vague, conclusory and group allegations and arguments of counsel in briefing1 are insufficient.

          “To state a claim under Rule 10b-5(a) or (c), the plaintiff must allege that a defendant (1)

 committed a deceptive or manipulative act, (2) with scienter, that (3) the act affected the market

 for securities or was otherwise in connection with their purchase or sale, and that (4) defendants’

 actions caused the plaintiffs’ injuries.” E.g., Aegean, 2021 U.S. Dist. LEXIS 59803, *67

 (citations omitted) (emphasis in original). Where a plaintiff fails to direct individualized

 allegations against a defendant, instead lumping that defendant in with other defendants “making

 only vague allegations about his participation,” the heightened pleading standards are not met.

 See Universal Am. Corp. v. Partners Healthcare Solutions Holdings, L.P., 176 F. Supp. 3d 387,

 394-395 (Del. 2016) (dismissing 10(b) claim against a defendant to whom plaintiff did not

 attribute specific statements and did not allege specific facts or circumstances; the allegation that

 he “collectively prepared and delivered” presentations to management and the board of directors

 was insufficient). See also Byrd v. Visalus, Inc., No. 17-cv-12626, 2018 U.S. Dist. LEXIS 57826,

 at *9 (E.D. Mich., April 5, 2018) (“‘At a minimum, Plaintiffs must allege the time, place and

 contents of the misrepresentations upon which they relied’” (emphasis added) (quoting Frank v.

 Dana Corp., 547 F.3d 564, 570 (6th Cir. 2008))); and In re EveryWare Global, Inc. Secs. Litig.,

 175 F. Supp. 3d 837, 850 (S.D. Ohio 2016) (Marbley, C.J.), aff’d sub nom. IBEW Local No. 58

 Annuity Fund v. EveryWare Global, Inc., 849 F.3d 325 (6th Cir 2007) (“Plaintiffs’ Section 10(b)



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            Arguments of counsel in opposition to a motion to dismiss, even if as to facts, are not permitted to
 supplement a party’s complaint to avoid dismissal and should be ignored. Phillips v. City of Cincinnati, 479 F. Supp.
 3d 611, 636 (S.D. Ohio 2020) (“additional factual details in [plaintiff’s] response brief . . . are not contained in the
 complaint, and thus, the Court does not consider them for purposes of evaluating the [defendant]’s motion to
 dismiss”) (citing Johnson v. Metro. Gov’t of Nashville & Davidson Cty., 502 F. App’x 523, 541-42 (6th Cir. 2012)
 (“The Court may not . . . take into account additional facts asserted in a memorandum opposing the motion to
 dismiss, because such memoranda do not constitute pleadings under Rule 7(a).”) (quoting in a parenthetical 2
 Moore’s Federal Practice, § 12.34 (Matthew Bender 3d ed.))).

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 and Rule 10b-5 claims are subject to the particularity pleading requirements of Rule 9(b), which,

 in the context of an Exchange Act claim, require a plaintiff to specify the fraudulent statements,

 identify the speaker, state where and when the statements were made, and explain why the

 statements were fraudulent”) (citing Frank v. Dana Corp., 547 F. 3d 564).

          Here, Plaintiffs’ Opposition fails to demonstrate that the first and second elements of

 scheme liability (a culpable act and scienter) were sufficiently pled and, with no specific

 culpable act by Mr. Pine pled, the third and fourth elements2 also could not have been pled.

                   1.       Plaintiffs did not specifically plead facts to support the element of a
                            culpable act by Mr. Pine.

          Mr. Pine’s Motion demonstrates that Plaintiffs failed to allege that Mr. Pine committed

 any deceptive or manipulative act. Doc. 167, PageID 2376-79. There are no allegations in the

 Complaint that Mr. Pine committed any deceptive, manipulative or otherwise illegal act

 whatsoever. There is not even an allegation that Mr. Pine knew of the alleged scheme. Instead,

 there are merely allegations that he was a lobbyist, that he had communications with politicians

 and that he worked on HB6 with legislators. Plaintiffs create the label of “central liaison” and

 speciously attempt to argue that Mr. Pine must have done something wrong because he had calls

 with politicians around the same time that FirstEnergy (not Mr. Pine) made payments to other

 entities—but these are either not factual allegations or are not specific to Mr. Pine.

          In their Opposition, Plaintiffs merely reiterate that Mr. Pine, a lobbyist, was “in direct

 contact with co-conspirators to the Bailout Scheme via a multitude of phone calls and other

 contacts.” Doc. 176, PageID 4101-02. The remaining argument of that paragraph relates to what



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             In other words, the only alleged act against Mr. Pine is that he performed his role as a lobbyist in working
 with the Ohio legislature to pass HB6; that act is not the act claimed to have caused Plaintiffs’ injuries. Rather,
 Plaintiffs allege that the illicit bribery scheme caused their damages and there are no factual allegations against Mr.
 Pine tying him to that bribery scheme.

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 Mr. Jones said and what standard should apply to “high level executives,” which Mr. Pine was

 not—Plaintiffs’ definition of him as an “Officer Defendant” for their “ease of reference” cannot

 make it so. Further, Plaintiffs string cite to paragraphs in the Complaint as allegations supporting

 “his central role in FirstEnergy’s fraudulent bailout scheme” (Doc. 176, PageID 4141; emphasis

 added), but no such factual allegations as to Mr. Pine are actually present:

  Cited        Actual Allegation Regarding Mr. Pine in that Paragraph
  Paragraph
  3            No allegations regarding Mr. Pine; generic allegations, conclusively alleging “an
               elaborate network of lobbyists, shell companies and political action committees”
  4            No allegations regarding Mr. Pine; generic allegation that the scheme was
               overseen by Jones and “numerous other executives”
  93           No allegations regarding Mr. Pine; generic allegation that the scheme involved
               “[p]aying lobbyists to orchestrate and execute the political corruption”
  135          No allegations regarding Mr. Pine; generic allegations regarding other Defendants’
               statements
  136          No allegations regarding Mr. Pine; generic allegations regarding other Defendants’
               statements
  137          No allegations regarding Mr. Pine; generic allegations regarding FirstEnergy’s
               political spending
  138          No allegations regarding Mr. Pine; generic allegations regarding FirstEnergy’s
               political spending
  171          No allegations regarding Mr. Pine; allegations regarding the guilty pleas of
               Longstreth and Cespedes, a different, retained lobbyist
  205          No allegations regarding Mr. Pine; allegations regarding the guilty plea of
               Generation Now
  215          No allegations regarding Mr. Pine; generic allegations of “Defendants’ scienter,”
               the actions of Generation Now and Longstreth
  216          No allegations regarding Mr. Pine; allegations of terminations by FirstEnergy of
               its executives for wrongdoing (not including Mr. Pine)
  223          The only paragraph that does actually address Mr. Pine and includes the mere
               allegations of phone calls with politicians, working on HB6 and working with the
               Ohio legislature to pass it

 The fact that Plaintiffs cite to eleven wholly irrelevant and non-specific paragraphs to try to keep

 a claim alive against Mr. Pine demonstrates just how deficient their allegations are against him.

 See Gordon v. Elite Consulting Group L.L.C., No. 09-CV-10772, 2009 U.S. Dist. LEXIS

 108019, at *15-16 (E.D. Mich., Nov. 18, 2009) (reliance on other defendants’ fraudulent


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 statements and omissions is insufficient; plaintiffs must prove “reliance upon [the individual

 defendant]’s own alleged deceptive conduct”) (emphasis in original).

        Plaintiffs further argue in their Opposition that the Court should not view their allegation

 that Mr. Pine had telephone calls with politicians as part of his job as a lobbyist but that instead

 the Court should view such allegation as “well-pled allegations that Pine committed these acts to

 advance the Bailout Scheme, which was intended to and did defraud the Company’s investors.”

 Doc. 176, PageID 4140. Such a leap would defy the very tenet of heightened pleading standards

 that are at the heart of Rule 9(b) and the PSLRA; by this logic, every person that had any role

 whatsoever related to legislative affairs for FirstEnergy or related to HB6 could be brought in as

 a defendant based on such connection alone. Plaintiffs make a further impermissible leap when

 counsel argue that the phone contacts “occurred in conjunction with payments from First Energy

 to fund the Bailout Scheme”—there is in fact no factual allegation in the Complaint as to the

 substance of Mr. Pine’s phone calls, that Mr. Pine ever spoke of any payment on such phone

 calls, that any phone call actually was the basis for any payment, that Mr. Pine caused any

 payment or that he even had knowledge of the payment. Plaintiffs merely threw a dart at the

 calendar and happened to find calls around the time others—not Mr. Pine—are alleged to have

 made and received payments. Plaintiffs are stretching far too far.

        Plaintiffs’ case law does not aid their argument. Plaintiffs’ reliance on Cardinal Health

 for the proposition that “Courts may presume that high-level executives are aware of matters

 related to their business’ operation where the misrepresentations or omissions pertain to ‘central,

 day-to-day operational matters’” is flawed and misplaced. In contrast to other defendants, Mr.

 Pine is not properly alleged to be a “high-level executive” and lumping him into a definition of

 “Officer Defendants” without any factual basis for doing so does not make him one. Further, the

 Cardinal Health court dismissed claims against an individual defendant because, unlike the
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 “high-level executive” co-defendants “responsible for day-to-day operations and issues relating

 to . . . financial performance” who “signed off on . . . corporate disclosure statements or

 participated in conference calls with analysts and investors,” plaintiffs in that case did not plead

 facts showing that the dismissed defendant “had any involvement in certifying corporate

 documents to the extent of the other Individual Defendants . . . [or] ever participated in

 conference calls with analysts and investors.” In re Cardinal Health, Inc. Sec. Litigs., 426 F.

 Supp. 2d 688, 744 (S.D. Ohio 2006) (dismissing an individual defendant even though plaintiffs

 “alleged facts showing that [she] was a high-level executive”). Similarly, here there are no

 factual allegations that Mr. Pine had any authority or involvement in regard to any allegedly

 illicit payments.

         Plaintiffs also cite In re ForceField Energy Inc. Sec. Litig., 2017 WL 1319802 (S.D.N.Y.

 Mar. 29, 2017) with a parenthetical that states “scheme liability adequately pled where inference

 that Defendant ‘authorized and knew of [wire] transfers’ was ‘just as plausible and compelling’

 as non-culpable inference.” However, the court in ForceField made clear that “there is no

 conspiracy liability in a private right of action brought under Section 10(b) or Rule 10b-5” (*21)

 and the allegation being evaluated in that case related to the authorization and knowledge of and

 payments by a small company’s three executives, who were the only executives in the small

 company.3 In contrast, there is no factual allegation here that credibly leads to the conclusion that

 Mr. Pine, a lobbyist, had any financial authority whatsoever within FirstEnergy to authorize or

 make payments from the company (he did not).

         Similarly, Plaintiffs cite In re Cognizant Tech. Solutions Corp. Secs. Litig., No. 16-6509

 (ES) (CLW), 2020 U.S. Dist. LEXIS 98830, at *38 (D.N.J. June 5, 2020) with a parenthetical


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          Courts find “special circumstances” exist when a small company is involved. See Stephens, 2016 U.S.
 Dist. LEXIS 91897, *37 citing Local 731 I.B. v. Diodes, Inc., 810 F.3d 951, 959 (5th Cir. 2016).

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 that states “rejecting Defendants’ ‘attempt[] to debunk plaintiffs theory’ because it ‘defie[d] logic

 at the pleading state.’” But the court in Cognizant was evaluating actual statements the plaintiff

 alleged in the complaint that the defendant made versus the defendant’s argued explanations for

 such statements. That is not the situation here; here there is a wholesale lack of factual

 allegations of culpable acts by Mr. Pine.

                2.      Plaintiffs did not specifically plead facts to support the element of scienter
                        as to Mr. Pine.

         Mr. Pine’s Motion demonstrates that Plaintiffs failed to allege that Mr. Pine acted with

 scienter. Doc. 167, PageID 2379-81. The Opposition argues for an inference of scienter against

 all of the Defendants based on all of the allegations of the overall scheme and specific allegations

 against other Defendants, but not specific allegations as to Mr. Pine. This is insufficient.

         “Scienter must be separately pled and individually supportable as to each defendant;

 scienter is not amenable to group pleading.” Aegean, 2021 U.S. Dist. LEXIS 59803, *98; see

 also Stephens v. Uranium Energy Corp., 2016 U.S. Dist. LEXIS 91897, *42 (“[T]he PSLRA

 requires the plaintiffs to distinguish among those they sue and enlighten each defendant as to his

 or her particular part in the alleged fraud.”). “[S]cienter allegations are analyzed separately for

 each defendant.” Aegean, 2016 U.S. Dist. LEXIS 91897, *42 (dismissing claim for scheme

 liability).

         “It is [also] insufficient to impute to each defendant a kind of collective knowledge that

 all the corporation’s officers and employees acquired in their employment.” Stephens, 2016 U.S.

 Dist. LEXIS 91897, *35. “The allegations claimed to show scienter on each defendant’s part

 must be analyzed individually to determine whether the complaint sufficiently pleads scienter as

 to that defendant.” Id. “[C]ourts may not ‘construe allegations contained in the Complaint

 against the defendants as a group as properly imputable to any particular individual defendant


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 unless the connection between the individual defendant and the allegedly fraudulent statement is

 specifically pleaded.” Id. at *35-36 citing Southland Sec. Corp. v. INSpire Ins. Solutions Inc.,

 365 F.3d 353, 365 (5th Cir. 2004).

          While a strong inference of scienter may be established by alleged facts demonstrating

 “(1) that defendants had the motive and opportunity to commit fraud,4 or (2) strong

 circumstantial evidence of conscious misbehavior or recklessness” (Aegean, 2021 U.S. Dist.

 LEXIS 59803, *69), no such factual allegations are made as to Mr. Pine in the Complaint.

          “In order to raise a strong inference of scienter through ‘motive and opportunity’ to

 defraud, [p]laintiff[] must allege that [defendants] ‘benefitted in some concrete and personal way

 from the purported fraud.’” Aegean, 2021 U.S. Dist. LEXIS 59803, *69 (finding that where the

 plaintiff failed to plead that certain individual defendants “benefitted in a concrete and personal

 way, lead plaintiff has simply failed to plead motive and opportunity arising from the Fraudulent

 Scheme itself as to” those defendants). Here, while Plaintiffs argue that they have alleged

 personal gain (see Doc. 176, PageID 4101), that is simply not true with regard to Mr. Pine—Mr.

 Pine was not an officer or director and is not actually included among the allegations of high

 salaries and bonuses (see Doc. 72, PageID 1636-38). There is no allegation that Mr. Pine stood to

 gain anything “in a concrete and personal way” from the alleged scheme. Hence, Plaintiffs

 cannot demonstrate that they have alleged scienter as against Mr. Pine by inference based on

 motive and opportunity.

          “Where a plaintiff does not make a showing of motive, ‘the strength of the circumstantial

 allegations [of conscious misbehavior or recklessness] must be correspondingly greater.’”

 Aegean, 2021 U.S. Dist. LEXIS 59803, *69-70 (citations omitted). The burden is on the


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         “[A]llegations of motive and opportunity standing alone will not suffice . . . .” Stephens, 2016 U.S. Dist.
 LEXIS 91897, *37 citing Local 731 I.B. v. Diodes, Inc., 810 F.3d 951 (5th Cir. 2016).

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 “plaintiff to prove that an inference of fraud is as compelling as a benign inference….” Id. at

 *114. Titles and proximity are not sufficient. For example, “[a]llegations regarding a defendant’s

 title, Board membership, and/or signatures on documents…are plainly insufficient to allege

 scienter as to each defendant.” Id. at *98; see also Stephens, 2016 U.S. Dist. LEXIS 91897, *37

 (“Without more, ‘an officer’s position with a company does not suffice to create an inference of

 scienter.’”). “[A]llegations of a close relationship [with the alleged scheme perpetrator] fail to

 establish the kind of circumstantial evidence necessary to support a claim of fraudulent or

 reckless intent.” Aegean, 2021 U.S. Dist. LEXIS 59803, *123. Allegations of physical proximity

 are insufficient. Id. “Allegations regarding core operations, the size of the fraud, and restated

 financials are not, on their own, sufficient to allege scienter.” Id. at 124.

         Here, Plaintiffs in their Opposition do not even attempt to contradict Mr. Pine’s point that

 the Complaint fails to allege he knew of the scheme or of the alleged illicit payments. See Doc.

 176, PageID 4113. The allegations concerning Mr. Pine do not, either individually or

 collectively, support fraudulent conduct or scienter, because they amount only to the tasks and

 goals specifically permitted under Ohio lobbying law in his role as a lobbyist.

         That Mr. Pine was a liaison between FirstEnergy and the Ohio legislature was his job as a

 lobbyist. That Mr. “Pine worked closely with Ohio state legislators to draft HB6 on behalf of

 First Energy and possessed intimate knowledge about the Company’s efforts to shepherd the

 legislation through the Ohio legislature” was also part of his job as a lobbyist. That Mr. Pine had

 numerous phone calls with Ohio state legislators was also part of his job as a lobbyist. Accepted

 as true, Plaintiffs’ allegations that an Ohio registered lobbyist knew of his employer’s desire for

 specific favorable legislation and helped draft and promote the legislation, the very essence of

 the entire lobbying system, simply do not constitute the strong showing of circumstantial

 allegations required to meet the high burden of an inference of scienter as to Mr. Pine. Indeed, to
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 attach an inference of scienter as to Mr. Pine based on these threadbare allegations would

 eviscerate the heightened pleading standards of Rule 9(b) and the PSLRA.

        Moreover, Plaintiffs do not make any allegation about what Mr. Pine said during his

 communications with legislators. They merely insinuate that the only plausible contents of the

 communications between a lobbyist and legislators was a nefarious bribery plot based on the

 theory that in one instance two days after calls on March 12 and 13, 2018, “FirstEnergy wired

 $300,000” to the entities Plaintiffs allege were part of a “corrupt enterprise.” In a second

 instance, Plaintiffs allege that after five calls between May 1 and May 4, 2018, “FirstEnergy

 made a $100,000 payment to members of the Bailout Scheme” on an unidentified date. Plaintiffs

 offer no allegation of any connection whatsoever between Mr. Pine and the alleged payments

 other than proximity in time of a few calls to two payments. Plaintiffs also offer no reason why

 an inference of scienter is any more likely than the obvious, non-culpable explanation that

 FirstEnergy’s lobbyist was promoting legislation favorable to FirstEnergy through traditional,

 direct correspondence with the legislature. See In re AT&T/DirecTV Now Sec. Litig., 480 F.

 Supp. 3d 507, 531 (S.D.N.Y. 2020) (dismissing claim for scheme liability where the

 “circumstantial evidence . . . [was] not as compelling as the obvious, non-culpable explanation”).

        Plaintiffs ask this Court to accept their conclusion that the obvious nonculpable

 explanation—that Mr. Pine “was doing his job honestly and with integrity”—would “require

 ignoring overwhelming allegations that his actions were key” to FirstEnergy’s allegedly illegal

 contributions. But their conclusion is the one that ignores the obvious—if there was a causal

 connection between the identified phone contacts between Mr. Pine and Ohio legislators and

 FirstEnergy’s $300,000 and $100,000 payments, Plaintiffs do not account for the other

 $59,600,000 in allegedly illicit payments forming the basis of their claim. Plaintiffs’ logic—that

 because 0.67% of allegedly illegal contributions were made in the days after FirstEnergy’s
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 lobbyist had phone contacts with Ohio legislators must mean those phone contacts “were key to

 facilitating” FirstEnergy’s bribery scheme—supports neither the conclusion that Mr. Pine

 participated in the alleged scheme nor that he acted with scienter. By Plaintiffs’ logic, scienter

 would be inferred as to every person who spoke to Ohio legislators within 2-4 days of any

 alleged payment made by FirstEnergy. This cannot be the case.

        Plaintiffs’ reliance on Zwick Partners, LP v. Quorum Health Corp., No. 3:16-cv-2475,

 2018 U.S. Dist. LEXIS 97942, 2018 WL 2933406, at *9 (M.D. Tenn. Apr. 19, 2018)

 overreaches. That opinion stresses “Plaintiffs contend that Defendants had the opportunity to

 delay because they were the highest-ranking executives in the companies” (emphasis in original).

 The Zwick court’s statement that its “role is not to scrutinize each allegation in isolation, but to

 assess all the allegations holistically” does not mean a court is permitted to assess all allegations

 against all defendants—it is not. Id. at *25.

        Accordingly, Mr. Pine’s Motion should also be granted as to Count I for scheme liability

 and he should be dismissed from this action given that there are no other claims against him.

 IV.    CONCLUSION

        It is difficult to understand why Plaintiffs even attempted to add Mr. Pine to this action in

 the Consolidated Complaint. Plaintiffs have admitted they stretched their group pleading against

 him too far, even erroneously including him in claims for misstatements and control liability.

 Their allegations against him are conclusory, generic and innocuous at best—he was a lobbyist

 doing what a lobbyist does, trying to advance legislation for a client. There are no salacious

 allegations of massive salaries, bonuses, statements, or actions against him, and certainly none

 that support the heightened pleading requirements of Rule 9(b) and the PSLRA. Indeed, if the

 threadbare allegations against Mr. Pine were to pass muster at the Rule 12(b)(6) stage on a claim

 for scheme liability, the floodgates would open to sue countless people doing their jobs,
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 including essentially anyone communicating with legislators, anyone supporting HB6,

 legislators, etc. For the reasons set forth in Mr. Pine’s Motion and herein, Mr. Pine should be

 dismissed from this action. Mr. Pine renews his request for oral argument.

                                                      Respectfully submitted,

                                                      /s/John R. Mitchell
                                                      John R. Mitchell, Trial Attorney
                                                      (#0066759)
                                                      Kip T. Bollin (#0065275)
                                                      THOMPSON HINE LLP
                                                      3900 Key Center
                                                      127 Public Square
                                                      Cleveland, Ohio 44114-1291
                                                      Telephone: 216.566.5500
                                                      Facsimile: 216.566.5800
                                                      John.Mitchell@ThompsonHine.com
                                                      Kip.Bollin@ThompsonHine.com

                                                      Christine M. Haaker (#0063225)
                                                      THOMPSON HINE LLP
                                                      Austin Landing I
                                                      10050 Innovation Drive, Suite 400
                                                      Miamisburg, OH 45342-4934
                                                      Telephone: 937.443.6822
                                                      Facsimile: 937.443.6635
                                                      Christine.Haaker@ThompsonHine.com

                                                      Attorneys for Defendant Ty R. Pine




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 2, 2021, I electronically filed a true and correct copy of

 the foregoing with the Clerk of the Court using the CM/ECF System which shall send

 notification of such filing to all counsel of record.


                                                /s/ John R. Mitchell
                                                John R. Mitchell




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